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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA



   UNITED STATES OF AMERICA,         No. 21-20263-CR-DIMITROULEAS

          v.                         The Honorable William P. Dimitrouleas

   GARY TUCKER,

                      Defendant.




   GARY TUCKER’S SENTENCING MEMORANDUM IN SUPPORT OF A SENTENCE
                           OF PROBATION




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                                           INTRODUCTION

         Gary Tucker is a 64-year-old man and a native of upstate New York who has no prior

  criminal history and poses no threat to the community. Gary made a terrible error in judgment by

  lying to federal agents about a material fact in their investigation, and he accepts full responsibility

  for his conduct. Gary is remorseful and embarrassed by his actions and apologizes to the Court,

  the U.S. Fish & Wildlife Service (“USFWS”), the Department of Justice (“DOJ”), and his family.

          Gary voluntarily surrendered in this case on July 6, 2021, signed a written Plea Agreement

  and Joint Factual Statement, and pled guilty on August 4, 2021 to a violation of 18 U.S.C.

  §1001(a)(2).    In its Presentence Investigation Report (“PSI”), the U.S. Probation Office

  recommended a total offense level of four and advisory Guidelines range of 0-6 months’

  imprisonment. Neither side has filed any objection. The advisory Guidelines range places Gary

  firmly within Zone A of the Sentencing Table, which provides for a range of non-custodial

  sentences, including straight probation, probation with community confinement or home

  detention, or a combination of the above. See U.S.S.G. § 5B1.1. In addition, in Zone A cases

  involving a non-violent first offender, which is the case here, the Sentencing Guidelines encourage

  the Court to consider a sentence other than imprisonment. See id. § 5C1.1 cmt. n.4 (stating that a

  “court should consider imposing a sentence other than a sentence of imprisonment” when “the

  defendant is a nonviolent first offender” and the Guidelines range is in Zone A). Indeed, and as

  noted below, we believe that a term of straight probation is the appropriate outcome in this case

  and a sentence that is “sufficient, but not greater than necessary,” to achieve the goals of

  sentencing. See 18 U.S.C. § 3553(a).

         Gary is Vice President of Orient BioResource Center (“OBRC”), which is a CDC and

  USDA licensed company that procures non-human primates from abroad and then supplies them

  to U.S. research institutions for scientific and medical research to develop, among other things,


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  vaccines. 1 See, e.g., Coronavirus Studies in Nonhuman Primate Models, Nat’l Insts. of Health,

  https://orip.nih.gov/non-human-primate-models (last visited Sept. 22, 2021). The importation of

  non-human primates in this regard is legal under U.S. and international law, though the activity is

  highly regulated and often scrutinized by animal rights organizations that object to the use of

  animals in scientific and medical research.

         The conduct at issue in this case arose from the U.S. Attorney’s Office for the Southern

  District of Florida and the USFWS’s ongoing investigation into the non-human primate

  importation industry (the “industry”). Specifically, to the best of counsel’s understanding, the

  Government has been investigating whether foreign exporters and, potentially, U.S. importers are

  improperly importing wild-caught non-human primates into the United States despite the animals

  being labeled as captive bred in regulatory and related documents. As part of that investigation,

  Gary agreed to a voluntary interview during which USFWS Special Agents asked Gary about the

  existence of audit and site visit reports that he and other employees of OBRC prepared regarding

  suppliers of non-human primates. At that interview, Gary falsely and intentionally denied the

  existence of those reports. Gary knew that OBRC employees regularly prepared audit and site

  visit reports regarding suppliers, which he should have explained to the USFWS Special Agents.

         While Gary unquestionably made false statements, his conduct did not include the typical

  aggravating factors that exist in many false statement cases. Gary’s conduct was not a calculated

  ploy to cover up illegal activity, such as the illicit importation of wild-caught non-human primates.

  Rather, Gary’s conduct, while intentional, was impulsive and illogical. It largely derived from his

  long-held belief that audit and site visit reports contain sensitive supplier information that, if



  1
    These non-human primates are imported for medical and scientific research only, not for use with
  regard to cosmetics.



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  released, animal rights organizations could take out of context and unfairly use to undermine the

  industry.

         Gary’s actions during the interview will have life-changing and serious consequences that

  will follow him for the rest of his life, including being classified as a “felon” with its attendant

  ripple effects and stigma. But Gary’s conduct was a substantial deviation from 64 years of a life

  otherwise characterized by perseverance in the face of tragedy, hard work, and initiative. Gary’s

  personal characteristics, the fact that non-custodial sentences are ordered in the majority of false

  statement cases, the commentary to the Sentencing Guidelines regarding non-custodial sentences

  being particularly appropriate in these circumstances, and the harmful consequences that will

  already flow from a felony conviction—among the many other reasons detailed below—all weigh

  in favor of a non-custodial sentence. Therefore, we respectfully ask the Court to issue a within-

  Guidelines sentence of probation.

                                          BACKGROUND

  I.     Gary’s Background

         A.      Early Life and Education

         Gary was raised on a dairy farm in Swain, New York, which had a population of

  approximately 43 people at the time. Although Gary describes his childhood as generally “happy,”

  it was marked by the tragic and unexpected death of his father, who was killed in an automobile

  accident at age 41. Gary was nine years old at the time of his father’s death. Gary was close to

  his family and relied heavily on their support, including from his brother and sister, who were 16

  and 18, respectively, to overcome his father’s sudden absence. Gary’s sister had just begun

  college, and the death of Gary’s father meant the heavy responsibility of running the family dairy

  farm fell squarely on Gary’s and his brother’s shoulders. When Gary’s mother married Basil Stiles

  six years later, she and her new husband moved roughly 45 minutes away from the farm, but Gary


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  and his brother stayed at the farm to keep it going. Gary remembers daily chores on the farm,

  including before and after school, such as milking cows, feeding and cleaning livestock, plowing

  fields, and planting and harvesting the farm’s crops, which included oats, hay, and buckwheat.

         At age 16, Gary began parking cars at a local ski resort to earn extra money. When it

  became known to management that Gary had extensive experience with heavy equipment due to

  his responsibilities on the farm, Gary was charged with running snowmobiles, snowcats, and the

  snowmaking equipment. Gary undertook this work in addition to his substantial responsibilities

  on the farm. During his college years, Gary continued to work during holiday breaks, including

  Thanksgiving and Christmas, and weekends to earn money.

         From a young age, Gary saw an education as an essential component in bettering himself

  and achieving prosperity. Despite his responsibilities on the farm, Gary enrolled in a high school

  that was a 45-minute drive away because it was better than the one located closer to his home. Not

  having an independent way to get to school, Gary hitchhiked to and from high school, having no

  real idea how long it would take him to get to school or return home every school day, until his

  junior year when he received his driver’s license. After high school, Gary left the farm and earned

  an associate’s degree at Canton College and a bachelor’s degree at Cornell University, both in

  animal science. During his time at Cornell, Gary joined an honorary fraternity, Alpha Zeta, which

  required that he be within the top twenty percent of his class.

         Gary later obtained a law degree from Western Michigan University in 1994, 15 years after

  having received his bachelor’s degree at Cornell. Looking for ways to further support his family,

  Gary took evening courses while working full time and raising his two young sons with his wife.

  After law school, Gary operated his own part-time law practice until 2004 when his day-to-day

  responsibilities became too extensive to continue his practice. Gary has not practiced law in over




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  17 years and formally terminated his Michigan law license in July 2021 in connection with his

  guilty plea.

           B.     Gary’s Family Background

           After college, Gary met Susan in upstate New York in 1981 and later married her in 1985.

  Gary and Susan together raised two good and successful sons. Gary and Susan’s eldest son is an

  assistant professor in emergency medicine at a prestigious medical school where he specializes in

  the use of ultrasound in treating critically ill patients. Gary and Susan’s other son works for a

  millwright union in Michigan as a construction mechanic, and he specializes in installing industrial

  equipment. As part of their shared devotion to their sons, Gary and Susan paid for their sons’

  undergraduate degrees, which, in total, was an approximately $300,000 investment in their futures.

  Gary also invested significant amounts of time in his sons’ lives by, among other things, serving

  as the head coach of their youth soccer team for almost a decade.

           Gary continues to be a source of support for his family, and Gary and Susan live a modest

  lifestyle exclusively off of Gary’s income. In addition, although Gary’s elderly mother, who is

  currently in assisted living in Wellsville, New York, relies primarily on Social Security and her

  late husband’s veterans’ benefits, Gary supplements her benefits by paying for household and food

  items.

  II.      The Offense Conduct

           As part of the U.S. Attorney’s Office for the Southern District of Florida and the USFWS’s

  ongoing investigation into the potential illegal importation of wild-caught non-human primates

  into the United States, Gary agreed to a voluntary interview with an Assistant United States

  Attorney and Special Agents from the USFWS (the “Agents” or the “Special Agents”). During

  the July 11, 2019 interview, which was conducted in Washington, D.C., the Special Agents asked

  Gary about the existence of audit reports that he and other employees of OBRC prepared regarding


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  suppliers of non-human primates. Gary indicated that OBRC employees did not prepare reports

  regarding their audits or site visits of suppliers, which Gary knew was false. Gary knew that the

  preparation of audit and site visit reports regarding suppliers was a standard practice at OBRC.

  III.   The Plea Agreement and Presentence Report

         Pursuant to the Plea Agreement, the parties believe that the applicable Sentencing

  Guidelines range is 0-6 months’ imprisonment. See Dkt. 18 at 3. The U.S. Probation Office

  agreed. As described in the PSI, the U.S. Probation Office determined that the applicable

  Guidelines range is 0-6 months’ imprisonment based on a base offense level of six, a two-level

  reduction for acceptance of responsibility, and a criminal history category of I (based on Gary

  having no prior criminal conduct or arrests). See Dkt. 26 at 6–7. This determination places Gary

  squarely within Zone A of the Sentencing Table.

                                             ARGUMENT

  I.     Legal Standard

         A sentencing court’s duty is to impose a sentence that is “sufficient, but not greater than

  necessary” to meet the goals of sentencing. Pepper v. United States, 562 U.S. 476, 491 (2011)

  (quoting 18 U.S.C. § 3553(a)). A sentencing court carries out this duty by conducting a two-step

  analysis. See Nelson v. United States, 555 U.S. 350, 351 (2009). The court must first calculate

  the applicable Guidelines range, which serves as a “starting point and the initial benchmark” for a

  sentencing decision, Gall v. United States, 552 U.S. 38, 49 (2007), then “consider what sentence

  is appropriate for the individual defendant in light of the statutory sentencing factors” set forth in

  § 3553(a), Nelson, 555 U.S. at 351.

         Importantly, if the applicable Guidelines range is in Zone A of the Sentencing Table, as

  the parties and the U.S. Probation Office recommend is the appropriate range in this case, “a

  sentence of imprisonment is not required.” U.S.S.G. § 5C1.1(b). As previously noted, a court’s


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  consideration of a probation sentence is especially apt for defendants who are “nonviolent first

  offender[s],” such as Gary, with a Guidelines range in Zone A, because a “court should consider

  imposing a sentence other than a sentence of imprisonment” in those situations. 2 See id. § 5C1.1

  cmt. n.4.

         Pertinent § 3553(a) factors to be considered include: “the nature and circumstances of the

  offense and the history and characteristics of the defendant,” § 3553(a)(1); the need to “reflect the

  seriousness of the offense,” “provide just punishment,” “protect the public,” provide “adequate

  deterrence,” and “promote respect for the law,” § 3553(a)(2)(A)–(C); “the kinds of sentences

  available,” § 3553(a)(3); and the “need to avoid unwarranted sentence disparities,” § 3553(a)(6).

  As discussed further, all of these factors weigh in favor of a sentence of probation. If the Court

  disagrees, we respectfully request that the Court take advantage of the flexibility Zone A affords

  and issue, consistent with other false statement cases and the § 3553(a) factors as applied to this

  case, another form of non-custodial sentence.

         A.      The Nature and Circumstances of the Offense

                 1.      Gary’s Offense Conduct

         Gary has, for an extended period of time, viewed the confidentiality of audit or site visit

  reports as sacrosanct within the industry. Gary’s position comes from his concern that the reports

  often contain sensitive information about suppliers’ operations—such as a facility’s conditions, a

  supplier’s health program, and potentially pictures of non-human primates or facilities—which

  animal rights organizations may unfairly take out of context and use to further their publicity



  2
   In addition to probation, a number of other non-custodial sentences may also be appropriate in
  Zone A cases. See U.S.S.G. § 5B1.1 cmt. n.1(A) (“Where the applicable guideline range is in
  Zone A of the Sentencing Table . . . a condition requiring a period of community confinement,
  home detention, or intermittent confinement may be imposed but is not required.”).



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  efforts against the industry. Gary foolishly, but intentionally, lied to the Agents in denying the

  existence of audit or site visit reports when he fully knew that others at OBRC had prepared such

  reports. Despite Gary’s criminal conduct in this regard, Gary did not lie to the Agents to hide

  evidence of other criminal misconduct, such as the illicit importation of wild-caught non-human

  primates. 3

                 2.     Speedy Resolution of Criminal Liability

         After the July 11, 2019 interview, and following further discussions with the Government,

  Gary’s counsel provided a detailed attorney proffer to the Government in February 2020. Shortly

  after the attorney proffer, the COVID-19 pandemic struck the United States and halted

  communication between counsel and the Government. The Government contacted counsel in

  February 2021 (at a point when Gary was in Cambodia for business) indicating a desire to discuss

  Gary’s potential criminal liability. Following conversations between counsel and the Government,

  a one count information was filed two months later on April 30, 2021. Gary again agreed to a

  voluntary interview and met with the Government in early May 2021. The Plea Agreement and

  Joint Factual Statement were signed later that month, 4 Gary surrendered on July 6, and he pled

  guilty on August 4. Gary takes full personal responsibility for his conduct and has done all he can



  3
    Unrelated to this matter, Gary recently agreed to assist the USFWS and the Centers for Disease
  Control and Prevention (“CDC”) with the handling of a non-human primate that had been
  confiscated at the southern border by U.S. Customs and Border Protection from someone who
  attempted to smuggle the non-human primate into the country. Gary and OBRC assisted with the
  animal’s rehabilitation and health testing, which were all conducted under quarantine, for the
  USFWS and the CDC. See Saving J: A Confiscated Spider Monkey Story, Brevard Zoo,
  https://brevardzoo.org/saving-j-a-confiscated-spider-monkey-story/ (last visited Sept. 21, 2021).
  4
    The Plea Agreement and Joint Factual Statement were originally signed in late May 2021. Due
  to the Court’s requirement that the parties submit documents with original signatures (in other
  words, scanned versions are unacceptable), the parties re-executed the documents on August 4,
  2021. See Dkts. 18–19.



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   to resolve his criminal liability in an efficient manner, including by returning to the United States

   after traveling abroad with full awareness of his impending criminal liability and meeting with the

   Government, which the Government acknowledged at Gary’s arraignment. See Dkt. 22 at 5.

          B.      Gary’s History and Characteristics

          We ask that the Court consider the totality of Gary’s life and the manner in which he has

   lived it. After all, a moment of extraordinarily poor judgment, while justifiably having significant

   consequences, must be viewed along a lengthy continuum of a life. Regardless of the sentence

   ultimately imposed, being branded a “felon” is an outcome that will have significant consequences

   for the remainder of Gary’s professional and personal life. Gary’s conduct in this case was

   anomalous in comparison to his 64 years of having otherwise been a law-abiding citizen without

   any criminal history. See Dkt. 26 at 6–7. Indeed, the U.S. Probation Office could not locate so

   much as a traffic citation related to Gary. See id. ¶ 30. To be sure, Gary is an imperfect man, as

   evidenced by his conduct that led to his conviction in this case. But Gary overcame many obstacles

   in his early childhood and carved out a meaningful and productive life.

          A sentence of probation would allow Gary to contribute his skills and time to the

   community while adequately serving the goals of sentencing—all while requiring far less of the

   public’s resources than a custodial sentence would entail—and would be “sufficient, but not

   greater than necessary” to meet those goals. 5 See 18 U.S.C. § 3553(a). As the U.S. Probation

   Office recognizes, Dkt. 26 ¶ 75, a condition of community service is appropriate if the Court

   sentences Gary to probation, 18 U.S.C. § 3563(a)(2), (b)(12).


   5
    We also submit that should the Court not elect to impose a sentence of probation alone, other
   non-custodial sentences within the Guidelines range would sufficiently achieve these goals. See
   U.S.S.G. § 5B1.1 cmt. n.1(A) (“Where the applicable guideline range is in Zone A of the
   Sentencing Table . . . a condition requiring a period of community confinement, home detention,
   or intermittent confinement may be imposed but is not required.”).



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          One potential organization for which Gary could perform community service is the Red

   Cross, a non-profit humanitarian organization that provides emergency assistance, disaster relief,

   and disaster preparedness education in the United States. Gary began volunteering with the Red

   Cross in early 2021, specifically serving with Disaster Cycle Services for the Coastal Bend region,

   which encompasses the counties south of Houston to Brownsville along the Texas Gulf Coast,

   overseeing approximately 50 shelters for victims of disaster events. After the Great Texas Freeze

   of 2021, Gary saw volunteering with the Red Cross as an opportunity to utilize his years of

   management and disaster planning for research facilities to serve his community. Gary provides

   shelter management and disaster assessment support to Disaster Cycle Services, which may require

   his deployment to disaster-stricken locations.       Gary already volunteers his time weekly

   (approximately one to four hours) by, among other things, attending meetings, training, and

   participating in community outreach, such as delivering hurricane preparation packages to

   residents within the Coastal Bend region.

          Beyond his usual duties with the Red Cross, Gary may be deployed to an area outside of

   the Coastal Bend region and provide other types of assistance. This year, from August 31 to

   September 10, Gary was deployed to New Orleans, Louisiana to assist the Red Cross’s response

   to Hurricane Ida, which left widespread devastation throughout the region, especially in the New

   Orleans area. Gary’s original assignment was to deploy to Houston, Texas, but when it was

   determined that Hurricane Ida was moving easterly, he was reassigned to New Orleans. Gary’s

   assignment was to conduct reconnaissance to determine where resources were needed (e.g., water,

   fuel, food, shelter, and medical supplies) so that the federal government, Red Cross, and others

   could deliver necessary aid. Gary spent 140 volunteer hours during the assignment.




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          A probationary sentence would also serve “the interests of society as a whole” because

   Gary committed a non-violent offense, and he does not have any of the characteristics of an

   offender for which incarceration is most appropriate. See Pub. L. No. 98-473, § 239, 98 Stat. 1988,

   2039 (1984) (set forth at note to 18 U.S.C. § 3551). Congress has noted that “prison resources”

   should be “reserved for those violent and serious criminal offenders who pose the most dangerous

   threat to society.” Id. Gary poses no such threat to society and is neither “violent” nor a “serious

   criminal.” Incarcerating Gary would not benefit society. In fact, a custodial sentence for Gary

   would do just the opposite; a custodial sentence in this case would prove costly and unnecessary—

   the Administrative Office of the United States Courts estimates that incarcerating Gary would be

   approximately ten times more expensive than supervising him during a term of probation. See

   Dkt. 26 ¶ 80. 6 Given Gary’s age and his lack of a violent or criminal history, incarceration is

   simply unnecessary and would not further the goals of sentencing.

          C.      A Sentence of Probation Reflects the Seriousness of the Offense, Avoids
                  Unwarranted Sentencing Disparities, Affords Adequate Deterrence,
                  Promotes Respect for the Law, and Protects the Public from Further Crimes

                  1.      Probation Mirrors the Typical Sentence for a § 1001 Offense

          A sentence of probation is a within-Guidelines sentence and would be treated as a

   presumptively reasonable sentence by the Court of Appeals. See United States v. Willis, 560 F.3d

   1246, 1251 (11th Cir. 2009) (noting that a district court’s sentence “within a properly calculated

   guideline range” is treated as presumptively reasonable on appeal). Moreover, a sentence of

   probation in this case would be entirely consistent with other courts’ sentencing decisions in



   6
     Specifically, and as noted in the PSI, the latest guidance from the Administrative Office of the
   United States Courts (dated August 27, 2021) indicates that the monthly cost of incarcerating an
   individual in federal prison facilities is $3,688 as opposed to the monthly cost of supervising an
   individual on probation, which is $371. Dkt. 26 ¶ 80.



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   similar—and arguably more serious—cases and would therefore not create a sentencing disparity.

   See 18 U.S.C. § 3553(a)(6) (recognizing the “need to avoid unwarranted sentence disparities

   among defendants . . . who have been found guilty of similar conduct”). Indeed, federal courts

   throughout the country and in the Eleventh Circuit often impose a sentence of probation in false

   statement cases, including those where, unlike this case, the defendant was convicted by a jury or

   the false statement led to a financial loss or gain:

          •   United States v. Xu, No. 6:16-cr-14-GAP-TBS, Dkts. 44, 46, 76 (M.D. Fla. 2017)
              (president of a research and development company, which had a contract valued at
              $599,950 with the National Aeronautics and Space Administration (“NASA”), made
              false statements to NASA regarding the key personnel who would participate on a
              project—an important component in NASA’s decision to award the contract—was
              sentenced to two years of probation).

          •   United States v. Thompson, No. 3:15-cr-00154-HLA-JBT-1, Dkts. 1, 20, 29 (M.D. Fla.
              2016) (former U.S. Army Corp of Engineers employee who, during a voluntary
              interview, lied to Inspectors of the Federal Protective Service regarding her having
              placed an image of the Confederate battle flag on an African-American colleague’s
              desk was sentenced to probation for one year and 120 hours of community service).

          •   United States v. Schaller, No. 9:13-cr-80140-DTKH-1, Dkts. 42, 67, 95 (S.D. Fla.
              2014) (pilot convicted by a jury of five counts of making false statements in a Federal
              Aviation Administration (“FAA”) Medical Certificate Application—the pilot falsely
              stated that he had never been convicted of a misdemeanor crime and that his FAA
              Airman Medical Certificate had never been denied, suspended, or revoked—was
              sentenced to two years of probation).

          •   United States v. Lowery, No. 4:13-cr-00091-SLB-JHE-1, Dkts. 1, 7, 13 (N.D. Ala.
              2013) (recipient of $30,200 in disaster relief assistance from the Federal Emergency
              Management Agency (“FEMA”) who lied to a FEMA representative about the location
              of his primary residence in order to receive those benefits was sentenced to three years
              of probation).

          •   United States v. Miranda, No. 1:11-cr-20212-DLG-3, Dkts. 3, 76, 86 (S.D. Fla. 2011)
              (woman who lied to FBI agents about her mother’s involvement in two companies from
              which fraudulent claims were submitted to Medicare was sentenced to three years of
              probation).

          •   United States v. Richey, No. 3:05-cr-030-RDP-TMP, Dkts. 1, 23, 30 (N.D. Ala. 2005)
              (attorney who, during the course of an interview, provided false information to FBI
              agents regarding a client’s payment to a local district attorney’s fund was convicted by
              a jury and sentenced to two years of probation and 150 hours of community service).


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   The Bureau of Justice Statistics indicates that for the three most recent years for which data is

   available, a clear majority of those convicted of § 1001 offenses have received non-custodial

   sentences. See Bureau of Justice Statistics, Federal Criminal Case Processing Statistics, https

   ://www.bjs.gov/fjsrc/tsec.cfm. 7     A within-Guidelines sentence of probation here would be

   consistent with the typical sentence for a § 1001 offense. Accordingly, a sentence of probation in

   this case is a sufficiently serious punishment and promotes respect for the law.

                    2.      A Sentence of Probation is Warranted Given the Weight of a Felony
                            Conviction and Other Non-Judicial Punishments Already Inflicted on
                            Gary

             At 64 years old, Gary is in the latter half of his professional career. Gary’s conduct has

   largely stripped him of a legacy of which he can be proud. Indeed, news of Gary’s conviction has

   been disseminated by local and national sources. See, e.g., Man Convicted of Lying to Federal

   Agents During International Wildlife Trafficking Investigation, Dep’t of Justice (Aug. 4, 2021),

   https://www.justice.gov/usao-sdfl/pr/man-convicted-lying-federal-agents-during-international-

   wildlife-trafficking; see also Robin Bradshaw, Alice man convicted of lying to federal agents in

   illegal    wildlife   trafficking   case,   Alice    Echo   News    Journal   (Aug.    19,   2021),

   https://www.alicetx.com/story/news/local/2021/08/16/alice-man-convicted-lying-feds-wildlife-

   trafficking-case/8150022002/. Gary’s conduct, especially the widespread knowledge of it among

   members of the industry and his community, will forever stain his reputation and legacy. Beyond

   the reputational repercussions Gary has already experienced due to his conduct, as noted




   7
     For the years 2016-2018, approximately 38 percent of all § 1001 convictions resulted in a
   custodial sentence. Like the case examples above, the data includes cases with aggravating factors
   that are absent here, such as cases involving multiple offenses, no acceptance of responsibility,
   defendants with a prior criminal history, or a financial loss or gain resulting from the false
   statement(s).



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   previously, Gary relinquished his Michigan law license in July 2021 in advance of his guilty plea,

   which took away one of the few remaining viable alternatives to his current employment.

          In addition to the above, a felony conviction has other far-reaching implications, including

   the loss of the right to vote and other valuable rights. A felony conviction also will require a “yes”

   response and explanation on innumerable form applications, including applications to obtain

   credit, open a bank account, and conduct other normal activities. All of these factors taken together

   in conjunction with a probationary sentence, which, as described below, would impose significant

   restrictions on Gary’s day-to-day life, achieves the sentencing goal of specific deterrence.

                  3.      Probation is a Significant Punishment

          A probationary sentence is a significant sentence on its own. As the Supreme Court

   recognized, “‘[p]robation is not granted out of a spirit of leniency’” but instead involves

   “substantial[] restrict[ions]” on liberty. Gall, 552 U.S. at 48 & n.4 (2007) (quoting Advisory

   Council of Judges of National Council on Crime and Delinquency, Guides for Sentencing 13–14

   (1957)); see also United States v. Knights, 534 U.S. 112, 119 (2001). Rather than “the absolute

   liberty to which every citizen is entitled,” a probationer only enjoys “conditional liberty,” Griffin

   v. Wisconsin, 483 U.S. 868, 874 (1987) (quoting Morrissey v. Brewer, 408 U.S. 471, 480 (1972)

   (internal quotations omitted)), which can be revoked “in proceedings in which the trial rights of a

   jury and proof beyond a reasonable doubt, among other things, do not apply,” see Knights, 534

   U.S. at 120. For these reasons, “probation [is] a sentence in and of itself,” U.S.S.G. § 5B1.1 intro.

   cmt.; see also United States v. Wright, 607 F.3d 708, 714 (11th Cir. 2010), and it should be

   regarded as a sentence with serious implications. Therefore, a probationary sentence combined

   with the non-judicial punishments already inflicted on Gary delivers a clear message to would-be

   offenders that similar conduct carries serious, life-changing implications—thus “promot[ing]




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   respect for the law,” see § 3553(a)(2)(A), and “afford[ing] adequate deterrence to criminal

   conduct,” see § 3553(a)(2)(B).

          D.      The COVID-19 Pandemic Also Weighs in Favor of a Non-Custodial Sentence

          Of course, the dangers posed by COVID-19 in prison settings should not “equal a ‘get out

   of jail’ card,” as “COVID-19 runs the risk of transforming any incarcerative sentence on a

   non-capital crime to be greater than necessary.” See United States v. Navarro, No. 14-60277-CR-

   DIMITROULEAS, 2020 WL 7012757, at *1 (S.D. Fla. Nov. 12, 2020) (emphasis added). Here,

   however, we submit that while concerns regarding the COVID-19 pandemic should not be the sole

   reason for a non-custodial sentence, those concerns should be afforded greater weight in cases

   such as this one where Gary is a non-violent first offender and the appropriate Guidelines range

   already permits a probationary sentence, especially when, at age 64, Gary is within the class of

   individuals who are at risk for serious complications resulting from the COVID-19 virus. See

   COVID-19 Risks and Vaccine Information for Older Adults, Ctrs. for Disease Control &

   Prevention, https://www.cdc.gov/aging/covid19/covid19-older-adults.html (last visited Sept. 19,

   2021). Further, even though Gary is vaccinated, studies show that the risk of harm from COVID-

   19 in a prison setting remains even after vaccination. See Benjamin A. Barsky et al., Vaccination

   plus Decarceration — Stopping Covid-19 in Jails and Prisons, 384 New Eng. J. Med. 1583 (Apr.

   29, 2021), https://www.nejm.org/doi/full/10.1056/NEJMp2100609.         Accordingly, COVID-19

   concerns reinforce and supplement the many reasons described above for why a probationary

   sentence should be issued in this case.




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                                           CONCLUSION

          We respectfully urge the Court to impose a within-Guidelines sentence of probation with

   community service. Such a sentence is “sufficient, but not greater than necessary, to comply with

   the purposes” of sentencing. See 18 U.S.C. § 3553(a).


   Dated: October 7, 2021                      Respectfully Submitted,

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